  Case 24-15472-JNP            Doc 35      Filed 06/24/24 Entered 06/24/24 15:17:34             Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                                Case No.:      ___________________
                                                                                  24-15472-JNP
In Re:
PV Pets, LLC                                                    Chapter:                11
                                                                               ___________________

                                                                Hearing Date: ___________________
                                                                                 June 25, 2025
                                                                Judge:                Poslusny
                                                                                ___________________



                                           STATUS CHANGE FORM

   Pursuant to D.N.J. LBR 9013-3, the undersigned notifies the court that the matter identified below
   has been:

                             ☐ Settled             ☐ Withdrawn

           Motion for willful violation of automatic stay provisions of 11 U.S.C. §362(a)
   Matter: ___________________________________________________________________________

   against Highland Hill Capital and Mynt Advance
   __________________________________________________________________________________



          6/24/2024
   Date: ______________________                             /s/ Carol L. Knowlton
                                                            ________________________________
                                                            Signature




                                                                                                    rev.8/1/15
